131 F.3d 157
    Willie J. Dunnv.Bessemer State Technical College, Mattie H. Ray, Member,Screening Committee, W. Michael Bailey, President ofBessemer State Technical College, Fob James, Governor,Member of Board of Trustees, Ethel Hall, Member of StateBoard of Education Representing the District, Ron Moon,Human Resources Officer, Fred Gainous, Chancellor ofPostsecondary Education
    NO. 96-7095
    United States Court of Appeals,Eleventh Circuit.
    Nov 21, 1997
    N.D.Ala., 124 F.3d 1300
    
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      DENIALS OF REHEARING EN BANC.
    
    